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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       DEFENDANT’S SECOND
          Plaintiff,                   MOTION TO COMPEL;
                                       DECLARATION OF COUNSEL;
         v.                            EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE

   ANTHONY T. WILLIAMS,

          Defendant.


              DEFENDANT’S SECOND MOTION TO COMPEL

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides Defendant’s SECOND MOTION TO COMPEL; attached

   as Exhibit “A,” and Declaration of Counsel.
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      Dated: April 10, 2019



                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
